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                          United States District Court
                             CRIMINAL MINUTES - SENTENCING

Case No. 4:18cr76-RH                            Date: November 9, 2021
                                                Time: 1:00 p.m. – 3:43 p.m.
______________________________________________________________________________

PROCEEDINGS: Sentencing Hearing Held. Defendant is sentenced to 36 months BOP on Counts
2, 5, 6, 8 and 9, to run concurrently. A term of Supervised Release of 1 year is imposed. SMA
$500.00. $1,250,000 fine imposed. Restitution in the amount of $20,000 jointly and severally with
co-defendants. Defense to file written motion for release pending appeal by 11/12/2021. Government has
3 weeks to file response
______________________________________________________________________________
PRESENT: ROBERT L HINKLE, U.S. DISTRICT JUDGE
Deputy Clerk: Angie Maxwell
Court Reporter: Judy Gagnon
Probation: April McCommon
Asst. U.S. Attorneys: Peter Nothstein, Rosaleen O’Gara, Stephen Kunz, Andrew Grogan,
______________________________________________________________________________
U.S.A v. (3) JOHN THOMAS BURNETTE
☒ present ☐ custody ☒ O/R


ATTORNEYS FOR DEFENDANT:
Gregory Kehoe, Timothy Jansen, Amy Saharia, Adam Komisar, Jordan Behlman,
☒ present ☐ apptd. ☒ retained
_____________________________________________________________________________________
☒      DFT has read the PSR report and has discussed it with attorney

☒      Objections were made to the PSR

☐      Notice of Enhancement filed     ☐ Court questions DFT about prior conviction

☐      Report & Recommendation of U.S. Magistrate Judge is Accepted ☐ Court Accepts Guilty Plea

☒      DEFENDANT ADJUDICATED GUILTY OF COUNTS 2, 5, 6, 8, 9; SENTENCE IMPOSED:

☒      REMANDED to custody of Bureau of Prisons:
       on count(s)     2, 5, 6, 8, 9 imprisonment for a term of 36 months
                                     imprisonment for a term of
       with sentences to run ☒ concurrently or ☐ consecutively

☒      SUPERVISED RELEASE upon completion of term of imprisonment for a period of 1 year
       ☐ Home Detention of  months with Electronic Monitoring

☒      FINE PAYMENT: ☐ Fine waived; ☒ Fine of $ 1,250,000 ; ☒ SMA OF $500.00 due
       immediately
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☒      RESTITUTION: DFT is liable for restitution of:
       $20,000.00 jointly and severally with co-defendants

☐      FORFEITURE: ☐ No forfeiture order ☐ DFT to forfeit assets identified in the order

☒      CUSTODY STATUS:
       ☐ DFT committed to the custody of the U.S. Department of Justice.
       ☒ DFT to designated institution at his own expense no later than 2:00 p.m. on 1/9/2022

☒      ADDITIONAL RECOMMENDATIONS:
       ☐ Substance Abuse Treatment while in the custody of BOP
       ☐ Designation near Pensacola, Florida

☒      SPECIAL CONDITIONS OR MODIFICATIONS (as outlined in PSR):
☒      DFT shall submit to: ☒ testing for the use of drugs or alcohol
       ☐ Substance abuse treatment as may be directed by U.S. Probation Officer
       ☐ Mental Health treatment if deemed necessary by U.S. Probation Officer
☐      DFT shall provide requested financial information to U.S. Probation Officer
☐      DFT shall make any unpaid restitution on a payment schedule to be determined by U.S. Probation
       Officer
☐      DFT shall provide U.S. Probation Officer with access to all requested financial information and
       report the source and amount of income and financial assets as directed
☒      DFT shall not transfer or dispose of any asset without prior approval of supervising probation
       officer unless DFT has satisfied his financial obligations
☐      DFT shall cooperate with IRS and file all required income tax documentation
☐      DFT shall not incur new credit charges or open additional lines of credit without approval of U.S.
       Probation Officer unless DFT has satisfied his financial obligations
☐      DFT shall notify U.S. Probation Officer ten days prior to any change of residence or employment
☐      DFT shall cooperate with U.S. Probation Officer and/or the appropriate state agency in the
       establishment and enforcement of child support payments
☐      DFT must submit to search by U.S. Probation Officer

☐      ADDITIONAL TERMS:

☐      Remaining counts are dismissed on government motion

☒      Court informs DFT of right to appeal
       ☐ DFT requests that the Clerk of Court file a Notice of Appeal on his behalf



PROCEEDINGS:

1:00   Court in session
       Court reviews sentencing guidelines
       Court addresses objections to PSR
1:06   Argument by Defense (Kehoe)
1:06   Argument by Government (Nothstein)
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1:13   Argument by Defense (Kehoe)
1:15   Ruling by Court: Guideline range is 41-51 months
1:34   Statement to Court by Defense (Jansen)

1:55   Statement to Court by Brian Rich
2:03   Statement to Court by Zachary Zelner
2:08   Statement to Court by Deondrae Stephens
2:12   Statement to Court by Kim Rivers
2:19   Statement to Court by Defendant John Thomas Burnette
2:23   Statement to Court by Government (Nothstein)
2:32   Rebuttal by Defense (Jansen)
2:38   Court addresses parties and Motion for Judgment of Acquittal
3:00   Court states sentence that will be imposed with reasoning
3:03   Ruling by Court: Defendant is sentenced to 36 months BOP on Counts 2, 5, 6, 8, and 9, to run
       concurrently. A term of Supervised Release of 1 year is imposed. SMA $500.00. $1,250,000
       fine imposed. Restitution of $20,000, tly and severally with co-defendants. SMA, Fine, and
       Restitution to be paid immediately.
3:13   Motion by Defense for Release Pending Appeal (Saharia)
3:30   Argument by Government (Nothstein)
3:40   Defense to file written motion for release pending appeal by 11/12/2021. Government has 3
       weeks to file response.
3:41   Court advised defendant of his right to file notice of appeal
3:43   Court adjourned
